Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page1of51

Apr27-06. txt
24 that while it is appropriate that the Court has ordered the

25 long-term review of salaries in the long-term, there is a

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67

1 short-term crisis and there needs to be something more than a
2 plan that comes in after the budget year is over to raise

3 salaries, you know, in the future. That's what we're

4 concerned about. There is not a sense of urgency on this

5 issue.

6 THE COURT: May I inquire of counsel, I expect you're
7 the person who most likely knows, is there a request being

8 made through Finance to the Legislature for increased

9 salaries for Corrections psychiatrists -- not just

10 psychiatrists, but psychiatrists and nurses and all of that
11 sort of stuff?

12 MS. TILLMAN: If I might turn it over to my
13 Department of Finance analyst over here. My concern is that
14 I'm not permitted to breach confidentiality in terms of
15 requests that haven't been disclosed by way of the usual

16 process to the public because they're still being vetted
17 through Finance.

18 THE COURT: The Court will order you to do so. How
19 is that for relieving you of your problem.
20 MS. TILLMAN: I understand the Court's order.

Page 72
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 2 of 51

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I would ask Sarah Mangum be responsive to that

inquiry.
THE COURT: If you will, ma'am.
I understand the reason for that general rule. I'm

just now at a place where I've got to get on with it.

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68

Yes, ma'am.

MS. MANGUM: The Department of Corrections and
Rehabilitation has submitted a request to Finance. It has
not yet been submitted to the Legislature.

THE COURT: Okay. But it is contemplated that there
will be a further enhancement of staff salary?

MS. MANGUM: It is under review, that concept.

MS. TILLMAN: Your Honor, if I might while
Miss Mangum is available, could I have her address one of the
issues. I understand that the Department of Finance has
approved and is ready to present to the Legislature another
item that was sought by the Department of Corrections in the
budget.

MS. MANGUM: Certainly.

I just want to inform you that a letter was submitted
to the Legislature on April 20th that had two components
related to some of the issues raised earlier. One was it

requested funding for staffing at mental health OHU
Page 73
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 3 of 51

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facilities that -- my understanding was the intent was to
provide 24-hour coverage -- clinical coverage where needed.
The other --

THE COURT: Well, that's the problem. I mean, the
"where needed" is what the problem is.
MS. MANGUM: well, where it is not already existing

is my understanding of what that means.

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69
’ THE COURT: Okay.

MS. MANGUM: ‘The other proposal that's related to
this is that there was a proposal submitted to the
Legislature asking for additional staffing in the human
resources area to expedite the hiring process for Coleman
positions, similar to Plata, as well as expedite the things
like background checks and do a more intensive recruitment
effort for health care positions in total making the Coleman
process consistent to what was ordered under Plata and
provide resources for that.

THE COURT: Thank you, ma'am.

CONTINUED CROSS~EXAMINATION
BY MR. BIEN:
Q. Doctor, you testified earlier that the process that
you're engaged in also in the medical care side, the Plata

Page 74
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 4of51

Apr27-06.txt

16 side, has been working to enhance your ability to hire

17 clinicians; is that correct?

18 A. That is correct.

19 Q. Isn't it correct that there's still, as of April

20 15th, a tremendous number of vacancies on the medical side?
21 A. I don't know if it's tremendous. More than we want

22 jit to be, yes.

23 THE COURT: There will always be some vacancy?
24 THE WITNESS: Yes.
25 I think it substantially increased it though, yes.

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70

1 BY MR. BIEN:

2 Q. Isn't it correct that six prisons have 30 percent or
3 more immediate vacancies as of April 15th?

4 MS. TILLMAN: This is beyond the scope. Are we

5 talking medical or mental health figures?

6 MR. BIEN: Medical.

7 THE COURT: Why do we care?

8 I do care, but I mean it is not the scope of this

9 order.
10 MR. BIEN: My point is that even with taking the
11 first step of some extraordinary measures, the State is still
12 not meeting the care -- levels of care that it needs.
13 THE COURT: I understand. Go ahead.

Page 75
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page5of51

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Let's get on with the Bed Plan, please.
BY MR. BIEN:
Q. Going back to other options, you were talking about
Community Options. You haven't explored Community Options
for short-term crisis bed kind of stay for mentally i11

prisoners; is that correct?

A. No. Because we feel internally we have those
options -- much better options available to us.
Q. well, you don't right now. There are no crisis beds

available. You have 200 referrals that are not being met
each month.

A. You asked me in terms of did we explore options

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71
internally. I think the better options are outside. we went
through that before discussing why some of the providers do
not talk to us because of lack of payments and other things.
So I'm looking at more options and more realistic in the
short-term to check those out first before the next level.

Q. Okay. So the fact is you're not exploring community

options at the moment?

A. Community options relative to acute psychiatric need,
no.
Q. Okay. Are you exploring community options relative

Page 76
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 6of51

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to subacute psychiatric needs?

In other words, looking out and seeing -- the

Department of Mental Health is one provider. There are other

mental health providers available in the market place. There
are private providers, there are other public hospitals.
Have you explored those options?

A. No. We feel it is easier to explore the options of
moving out medical patients and making room for the
psychiatric patients internally, given the circumstances.
Q. You know that there are lots of hospitals that have
closed down, there are locked psychiatric units in the
community?

A. Yes. I'm aware of this, that some hospitals are
closed down. Yes.

Q. So you have not explored the option of bringing cpc

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72
guards and contracting for a locked psychiatric unit ina
hospital?

A. No, we have not yet. No.
Q. Are you aware of discussions concerning using space

at Corcoran Hospital, for converting it into a Level IV ICF?
A. We have looked at some of those options, yes.
Q. Are you aware that's been under consideration since

March of 2005?
Page 77
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 7 of 51

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Apr27-06.txt

A. I'm not sure how long it has been under
consideration, but I know it has been under consideration,
yes. So are some of the other options that are under
consideration, but when you start thinking outside the box, a
little different methodology employed, you get it achieved.
Q. As of right now, there is no plan to use the space at
Corcoran for Level IV ICF beds?
A. It may be. It is one of the options we are looking
at possibly, yes, within that time period we asked for.
Q. Is there also discussion of using some of the
hospital space at CIM for mental health crisis beds or some
other purposes?

THE COURT: This is Chino?

MR. BIEN: Chino.

THE WITNESS: Yes.

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73
BY MR. BIEN:
Q. And that's something that's mentioned in your Bed
Plan as an option; is that correct?
A. It is one of the options we are looking at. Yes, to

answer your question.

Page 78
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 8of 51

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Apr27-06.txt

Q. what are the issues you are considering in using that
space?
A. Like I said, I would prefer not to get into the issue

and discussion now. I asked for the opportunity within the
time period to get back. Generally, as I mentioned to you
before, the issues again are the staffing issues,
construction and some licensing issues. Those are generally
involved in all those activities.

But again, if we can think outside the box, I think
we'll be able to manage some of those with an appropriate way
of looking at it.

Q. Now that you've been relieved of your. duty of
silence, can you tell me whether or not the approvals that
the Department of Finance has given you for salary increases
for mental health clinical staff address the need to staff up
OHUs and mental health crisis beds?

MS. TILLMAN: Objection as to "duty of silence."

THE COURT: what he's talking about is that up until
just now we don't know that the Department of Finance had

gotten approval. But it is not just the Department of

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74
Finance. As I understand it, it's got to go to the
Legislature before anything gets done.

THE WITNESS: Yes.
Page 79
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page9of51

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Apr27-06.txt

THE COURT: So --

MR. BIEN: My question is -- is this part of the
defendants’ -- have these defendants asked for what they need
at this point or not. That's really what I'm --

THE COURT: I'm going to say again, please get on
with the Bed Plan. If I say it much more often, Mr. Bien,
I'm going to have you sit down.

. MR. BIEN: Okay.

Again, I'll just -- to me the --

THE COURT: I understand your view.

MR. BIEN: Okay.

THE COURT: I'm sorry.

MR. BIEN: Okay.

-THE COURT: I'm very frustrated.

BY MR. BIEN:

Q. We've talked about the plan that's going to happen in
I guess it is going to be 45 days. Is it your view that this
plan will cover, as your plan did for the Court on April
17th, needs through 2011?

A. No. The plan I'm looking at and addressing is the
short-term need that we have identified, the 75 beds in terms

of crisis, and 125 beds in terms of the intermediate care.

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75
Page 80
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 . Page 10 of 51

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It strictly addresses that.

It doesn't mean we don't look at other things. And
obviously, if we can add more beds available than's needed to
contemplate future usage or changing usage, we'll look at it.
But it is addressing those specifically because we're in a
crisis situation.

Q. Okay. Isn't it correct that you're also going to be
using the spring projections and updating your numbers based
on those projections?

A. That's a separate process we are looking at in terms
of revising the Bed Plan. That will be a separate process
looking at that. So I'm just specifically looking at just
addressing those two needs right now.

Q. Where did you come up with the number 75 as the
number of mental health crisis beds -- additional beds you
think you need right now?

A. well, those were the beds needs identified to me,
that was what our requirements are in the internal document
that was provided for me in terms of staff feeling that's the
appropriate number we need to come and target to resolve.

Q. Seventy-five more than what you have today?

A. Seventy-five is the gap that we are looking at in
terms of crisis beds, and 125 is the ICF beds.

Q. Okay.

A. As of today, yes.

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Page 81
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page11o0f51

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Q. Okay. And does that include or exclude the crisis

beds that are due to come on-line this summer?

A. That does not include the -- I'm not sure.
Q. In other words --
A. Let's put it this way. This is the gap that's

identified outside of the fact. we already committed to in our
Bed Plan. So this is the shortage that after we do what we

said in the Bed Plan that's additionally needed.

Q. Okay. So it's 75 more than the Kern Valley and Sac.
and --
A. Everything in the Bed Plan, assuming we do all that

we committed to, this is 75 additional beds that we need as
we see as the gap.
Q. Okay. I think that would be tremendously appropriate
to get 75 additional beds.

THE COURT: we're really glad you're happy.

MR. BIEN: I just wanted to make sure they weren't
counting the same ones.

THE COURT: I understand what you were doing.
BY MR. BIEN:
Q. when do you expect an additional 75 beds would
actually be able to be available to the Department?
A. AS I mentioned to you, give us that 45 days within
which I will Tay out the plan, the specific details of when

we will expect it to be and what are the impediments to get

Page 82
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page12o0f51

Apr27-06.txt
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77
1 to it, Support me to look at some way of addressing those as
2 assistance to us in order to achieve it.
3 Q. . And when you talked about the 125 ICF beds, were you
4 talking about 125 in addition to what has been identified in
5 the Bed Plan? .
6 A. That is correct. The same way as the other one is
7 identified, yes.
8 Q. Doctor, just to clarify something in the record, I
9 was pressuring you about your clinical opinion about
10 something. I didn't realize, could you tell the Court what
11 your degree -- your advanced degree is in?
12. I have a Bachelor's Degree in Accounting. TI have an
13 MBA in Finance. And I have an MBA in terms of Medical
14 Management. And I have a Doctorate Degree in Public Health.
15 Q. So you're not a medical doctor?
16 A. I am not a medical doctor. That is correct. Public
17 health.
18 Q. I don't mean to attack your qualifications --
19 A. That's fine. Understood.
20 MR. BIEN: Thank you, Your Honor.
21 I have no further questions.
22. THE COURT: Thank you, Mr. Bien.
23 THE WITNESS: Thank you.
24 THE COURT: Counsel, anything? Any Redirect?
25 MS. TILLMAN: Very quickly. I know time is running.

Page 83
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 13 of 51

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78

REDIRECT EXAMINATION
BY MS. TILLMAN:
Q. Doctor, you're familiar with the Court Order of March
3, 2006, requiring the submission of Bed Plans; is that
correct?
A. Yes, I am.
Q. And that Court Order of March 3, 2006, indicated that

the defendants would file with the Court a plan for acute and
intermediate care beds; is that right?

A. That is correct.

Q. And likewise, the Court Order indicated the
defendants shall file a plan for the provision of mental
health crisis beds, correct?

A. That's correct.

Q. was there anything in the Court Order regarding the

provision of EOP or Enhanced Outpatient Beds?

A. Not that I'm aware.

Q. why was that bed -- why was the Bed Plan that was
submitted inclusive -- or why did it address EOP beds?

A. Because we were concerned that even if the Court did

not ask for us to address, we know we have a tremendous need
there. Wwe need to start planning right now because we're in
a crisis mode with all our beds, to make sure we can find a
solution to that. So it is an identified target that we

Page 84
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page14o0f51

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Apr27-06.txt
indicated to the Court we are aware of that, and we're taking

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79

steps to try and address that.

Q. And those steps will continue?
A. That is correct. We are currently working on it
right now.

MS. TILLMAN: Thank you very much.

Nothing further. .

MR. BIEN: Your Honor, just for the record, may I
show this? This is responding to this question.

“RECROSS- EXAMINATION
BY MR. BIEN:
Q. Doctor, are you aware that there is a Court Order
dated December 20th, 2001, from this court that required the
Department to provide appropriate planning for Enhanced
Outpatient Beds?
A. Not offhand, I'm sorry, I'm not.

THE COURT: To tell you the truth, I didn't remember
it either. But I'll take your word for it. That's the
problem with this thing being 11 years old, right?

(Document handed to witness for review.)

MR. BIEN: I have marked as the next exhibit the
December 20th, 2001, order of this court.

BY MR. BIEN:
Page 85
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page15o0f51

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If you look at paragraph 2, Doctor?
what page are you on?

Q. Second page of the order?

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80
A. Yes.

"within 30 days," is that the paragraph?

Q. Right.

MS. TILLMAN: Are you suggesting we're a bit late?
BY MR. BIEN.
Q. I'm suggesting that there have been numerous orders

by this Court to provide planning and actually implement
plans to construct staff, enhance outpatient beds.

Are you aware of those prior orders?
A. I was not aware of this, no.

MR. BIEN: Thank you.

MS. TILLMAN: Your Honor, we have nothing further for
this witness.

THE COURT: will you step down.

MS. TILLMAN: Before we take our break, may I ask a
procedural question?

Given the breadth of Dr. Szekrenyi's testimony this
afternoon, I believe we have covered -- correct me if I'm
wrong in my assessment -- I think we have covered the topics

Page 86
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 16 of 51

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that were of concern to the Court.

THE COURT: There are some other issues. I'm not
sure that --

MS. TILLMAN: I'm certainly --

THE COURT: I'm looking for the -- Where is the --

MS. TILLMAN: Did you want further information “in

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81
response to paragraph 6 on page 3?

THE COURT: I do want that.

MS. TILLMAN: Okay.

THE COURT: I do want that. But I'm also concerned,
and I thought I asked a question about the difference in the
cost comparison of staff ratios.

oh, here it is. No, that's not it.

Didn't we ask the question about how come DMH is

getting so much more staff for the number of beds?

MS. TILLMAN: TI don't believe it is part of the Court
questionnaire.

THE COURT: Oh, Sugar.

Find that for me, will you, please.

I want to understand why that is. I'm not
criticizing anybody. I just want to understand how it
happened.

For some reason it never got into the questions I
Page 87
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page17of51

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Apr27-06.txt

handed you. I do want testimony about 6.

The question, which for some reason never got into
the questions that I gave you: why is there such a
discrepancy in the staffing ratios that DMH can achieve -
versus those CDCR can achieve?

The record shows that DMH will receive 1094 clinical
positions for the 670 DMH acute and intermediate care beds

while CDCR is looking at a total of 43.8 additional clinical

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82

and custodial staff positions for 714.

How can that be explained?

I mean, I'm trying to understand how this gets done.

That's, I think, not a -- that may be a DMH question,
but it may be a Department of Finance question.

MS. TILLMAN: I'11 try to determine that over the
lunch hour. . I'11 check with DOF over the lunch hour.

THE COURT: If you will give me 6, we'll take our
recess and come back.

“MR. BIEN: Just a lot of the questions we had about
crisis beds Dr. Szekrenyi was not able to answer, he referred
them back to Mr. McKeever.

THE COURT: You want to recall him?
MS. TILLMAN: Very good. we'll proceed.

Page 88
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page18of51

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THE COURT: Let's get to 6, if you have somebody that

can testify about 6.
MS. TILLMAN: Mr. Sifuentes is available, Your Honor.
THE COURT: Formality requires me to state you are
still under oath.
WITNESS SIFUENTES: JI understand.
(George Sifuentes, having previously been sworn,
resumes the witness stand.)
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83
DIRECT EXAMINATION
BY MS. TILLMAN:
Q. Good morning, Mr. Sifuentes. You testified before.
You've been introduced to the court. we need to have you
address another issue the Court is concerned about, and that
would be number 6 on page 3:
"The plan to accelerate the staffing and licensing of
the new MHCB units at Kern Valley State Prison and
CSP-Sacramento by June 30, what is the status of
these facilities."

Can you provide a response?

A. I can provide a response in terms of construction.

Page 89
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page19 of 51

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The Kern valley State Prison, the CTC there, I'm
assuming that's what is referred to, that's been constructed.
And I have certified that building as meeting the building
codes. That was done sometime ago.

In regards to CSP-Sacramento, the information I have
gotten from the Department of General Services is they expect
to have that contractor done and complete with all their work
by June 30th.

THE COURT: Okay. That tells me what I need to know
about that except we don't know about staffing.

What is the status of staffing for those facilities?

Mr. McKeever, can you tell me, if you know?

WITNESS MCKEEVER: Thank you, Your Honor.

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84

There is one item in the Bed Plan that was submitted
that addresses the staffing concerns, specifically at Kern
Valley, and it addresses increasing what they call a “hiring
above minimum" for staff, as well as increased R&Rs,
recruitment and retention issues.

So there is some plans and proposals that have been
submitted to increase the salaries of individuals in hopes of
getting Kern Valley staffed so we can get the CTC open.

THE COURT: You may step down, Mr. Sifuentes.

Page 90
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 20 of 51

Apr27-06.txt
10 WITNESS SIFUENTES: Okay.

11 THE COURT: I'm sorry. when do you hope to be able
12 to actually open the facility?

13 WITNESS MCKEEVER: Well, we hope to open as soon as
14 we get approval of the increased salaries in order to get the

15 staff down there.

16 THE COURT: I believe that what I'm asking you is --
17 I beg your pardon. Do you know what the timeline -- what is
18 the reasonable timeline?

19 WITNESS MCKEEVER: It's currently in the budget for
20 the Governor. So once it gets to the Legislature, assuming
21 approval and assuming the Governor's signature at the end of

22 june, the budget would be effective July 1.

23 THE COURT: All right. Thank you, sir.
24 All right. I guess that disposes of everything save
25 and except the question which I just raised.

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85
' Oh, you want to put --
MR. BIEN: I was just going to ask --
THE COURT: why don't you come around, and we'll take
whatever.
(Doug McKeever, having been previously sworn, resumes

the witness stand.)

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CROSS- EXAMINATION
Page 91
Case 2:90-cv-00520-KJM-SCR Document1861-1 Filed 06/29/06 Page 21 of 51

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BY MR. BIEN:
Q. Mr. McKeever, for talking about the Sac. MHCB and the
Kern Valley MHCB that are both ordered to be constructed,
staffed and licensed by June 30th, has there been an
appointment made, a schedule for DHS, the licensing people,
to inspect these facilities?
A. The application for licensure is being provided to
the Department of Health Services next Friday, at which time
they will schedule a visit. And my understanding is that
they will schedule that visit within a couple weeks after
receiving the application. So my guess would be that by
sometime in May, early June, we should be able to have
findings from the Department of Health Services relative to
the licensure issues.
Q. For both facilities?
A. Yes. Applications for both facilities are going in
next Friday.

Q. And they've approved a change in the normal process,

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86
which, at least for them, normal is they wait until it is
fully staffed and then come and inspect it; isn't that
correct?

A. That is correct. They are, as Dr. Peter mentioned to

Page 92
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 22 of 51

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us earlier, they're granting -- they're giving a lot of

latitude to us. They understand the urgency of this. And I
believe the term that they use is they will put the beds in
suspense until such time as staffing is at the facility to
actually activate the beds.
Q. Okay. So are you still -- is it still your plan to
actually comply with the Court's orders and open these
facilities so they can provide patient care on June 30th,
2006?
A. The plan is to have folks there. staffing is
probably the most problematic issue at both Kern Valley and
cSP-Sac. So I can't say that with certainty they will be
open by June.

THE COURT: But that's still the aim?

THE WITNESS: That's our goal.
BY MR. BIEN:
Q. Now, under this plan, the process you described to
the Court, they can't be opened in June because you don't get
authority from the Governor until the earliest to actually
start hiring until after the budget is passed in July, and

the budget is sometimes passed in August. Isn't it correct

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87
in order to comply with this order you need authority to

start hiring these positions in the next 30 days?
Page 93
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 23 of 51

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Apr27-06. txt
A. well, we're -- Let me see if I can clarify that for
you. The process that I mentioned is referenced to
increasing the salaries of individuals who -- the positions
that have already been approved for staffing at Kern valley
and CSP-Sac.

Staffing has already been allocated to those two
institutions to operate those mental health crisis bed units.
So we're already in the recruitment phase, if you will, of
getting staff at those institutions.

The hiring above minimum, as well as the recruitment
and retention efforts would be an add on to those individuals
who are up at those two institutions.

THE COURT: What you are telling folks is: Come on
on the basis of what we can give you now, but we believe that
we're going to be able to give you this other stuff by the
time the budget goes through?

THE WITNESS: That is, at the present time, a tool
that's being used by recruitment staff, yes. But we can't
promise that to them.

THE COURT: Of course. God willing and the river

don't rise.

BY MR. BIEN:
Q. If you had authority to actually offer the salaries

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Page 94
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06

Apr27-06.txt

Page 24 of 51

88

1 to this group of people now, you would have a greater

2 likelihood of complying with this court order?

3 A. I would say that that's true.

4 MS. TILLMAN: We have nothing further, Your Honor.

5 THE COURT: You may step down again.

6 MS. TILLMAN: Your Honor, may we excuse Dr. Szekrenyi
7 so he might attend his meeting?

8 THE COURT: Yes, you may. Thank you for your

9 services.

10 we will take our recess now and reconvene at two

11 o'clock.

12 (off the record at 11:33 AM)

13 (On the record at 02:05 PM)

14 THE CLERK: Please, remain seated.

15 Court is now in session.

16 THE COURT: Folks, at lunch time the Special Master
17 talked to his monitors and was told as follows:

18 That the OHU that's being closed, that is being

19 converted into a OHU, whatever it is called, has 36 locked

20 beds -- 36 locked beds and across the hall, separated by a

21 door, are an additional 13 beds.

22 It is my understanding that this is being closed

23 because of Budd. And I'll tell you right now, if that's the

24 reason -

I mean, CMC, according to my Special Master, has

25 more folks needing mental health services than any facility

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Page 95
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 25o0f51

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Apr27-06. txt

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in California other than CMF. And we're going to close this
and try and get people into other institutions that have no
beds because of a licensing problem?

we are not going to do that.

You know, I promised you I would not issue any orders
from the bench because this is a complicated problem. This
is not a complicated problem. This is a very simple problem.
There's 36 beds available for sick people.

As of today, that institution, that LOU, will remain
open, will be treated as a bed for -- what is it called?

Special Master KEATING: MHCB, Your Honor.

THE COURT: As of today. This is absurd.

I have no desire to be in conflict with the state
courts. I want you to understand that. But they are
enforcing state law, and I am enforcing the Constitution of
the United States. And there will be no close.

And in light of that, any other time you're going to

close any facility, beds of any kind on the basis of Budd or

other licensing, you must first get the permission from the

Special Master. And you may not do it without his
permission.

It is mind-boggling.

Unfortunately, I was told all of this just before I
came on the bench so I did not get to process it in a proper

way and not be this upset.

Page 96
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 26 of 51

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Apr27-06.txt

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90

All right. Let's talk about the one remaining issue
that I asked you if you would tell me how come DMH manages to
get all of these folks, all this staff and we don't.

MS. TILLMAN: Good afternoon, Your Honor.

That question requires the assistance of both the
Department of Finance personnel as well as the Department of
Mental Health personnel.

where would you like them seated to ensure a good
conversation occurs?

THE COURT: Whatever is convenient to counsel that
you think is useful.

You can put one there and one there and we will give
them, you know, one of the roving mics. whatever is useful.

MS. TILLMAN: The Court has previously met with
Mr. Rodriguez. I know he's sworn. Miss Sarah Mangum has not
been sworn.

THE COURT: She will be now.

MS. TILLMAN: And Mr. Jim Alves is also with the
Department of Finance. That is A-l-v-e-s.

THE COURT: Madam Clerk, swear the two folks.

(John Rodriguez, having been previously sworn,

resumes the witness stand.)

SARAH MANGUM AND JIM ALVES,
were thereupon called as witnesses herein by the Defendant,

and having been sworn to tell the truth, the whole truth and

Page 97
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 27 of 51

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Apr27-06.txt

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91
nothing but the truth, was thereupon examined and testified
as follows:

THE CLERK: State your names and spell your last
names.

WITNESS MANGUM: Sarah Mangum, M-a-n-g-u-m.

WITNESS ALVES: Jim Alves, A-l-v, as in Victor, e-s.

THE COURT: You guys want to be seated in the jury
box, feel free to do so. Whatever is convenient for you.

Ma'am.

MS. TILLMAN: Your Honor, I believe that the
witnesses have found it helpful to look at Enclosure 2 of
Defendant's Fifth weekly Status Report. I have an extra copy
if the court would like it.

THE COURT: That's all right. You may proceed.

Actually, yes. You know, that's probably easier.
Yeah. It is probably useful.

MS. TILLMAN: The Court is familiar with
Mr. Rodriguez’ credentials and background.

would the Court like to know about Mr. Alves and
Miss Mangum?

THE COURT: Very briefly, please.

DIRECT EXAMINATION
BY MS. TILLMAN:

Page 98
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 28 of 51

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Apr27-06.txt
Q. Mr. Alves, could you state your present employment

position?

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92
A. Yes. I'ma staff financial analyst with the
Department of Finance.
Q. How long have you held that position?
A. For approximately 19 months. And I cover the
Department of Mental Health.
Q. Both staffing and capital outlay or just staffing?
A. | Just staffing. State operations issues.
Q. Very good.

And Miss Mangum, your present position?

A. I'm a principal program budget analyst. And my
assignment area covers the Department of Corrections and
Rehabilitation Health Care Programs. I've been in that
position a year-and-a-half approximately.

Q. Thank you.

You've all had the opportunity to review Enclosure 2
to the Fifth weekly Status Report submitted by the
Defendants; is that correct?

THE COURT: We have to do this one at a time. It is
the only way it will work.

BY MS. TILLMAN:

Q. Miss Mangum, have you reviewed Enclosure 2 of the
Page 99
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 29 of 51

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Fifth weekly Status Report submitted by defendants?

A. Yes.
Q. Mr. Alves, have you done the same?
A. Yes.

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93

Mr. Rodriguez, have you done the same?

Yes.
Q. Thank you.
Each of you have -- were here during the Court's

questioning about how the DMH staffs up its facilities versus
the staff ratios according to CDCR. You had the opportunity
to look at Enclosure 2 to the Fifth weekly status Report.

Mr. Rodriguez, why don't you start with the answer to
the Court's question about the reason for the difference in
staffing ratios?

A. I'm looking at page 4 on Enclosure 2, three-quarters
of the way down we just have identified the location, the
beds, the dollars and the positions. And using the current
staffing ratios that we use at acute and ICF beds we run now
at CMF and Salinas valley, we used those ratios and, of
course, multiplied it times the number of beds that we're
proposing, using current salaries, and that provides the
Clinical positions.

Page 100
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 30 of 51

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Apr27-06.txt
But in addition, we also -- the folks that do the

non-level of care activities in the facilities, like the
janitors, for example, they're also included in there because
they work for us.

~ And our medical/technical assistants, which are a
combination nurse and custodial --

_ THE COURT: MTA,

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94

THE WITNESS: Exactly. They are also included in
those. So that's basically taking today's world in terms of
ratios, multiplying it out to the projected beds, and that's
what we get.

THE COURT: Okay. And why is it -- why is there this
difference?

WITNESS MANGUM: I think it is a clarification issue,
not necessarily a ratio issue. On page 5 there's a list of
positions for CDCR custody staff. These are the estimated

level of staff based on current ratios, again for the

facilities -- the similar facilities that are currently

operated by DMH. This is the custodial -- I'm sorry -- the
custodial staff that would be employed by cpcR for the same
facilities as DMH. So they would work together with DMH
employees.

THE COURT: But it also, as I understand it, maybe I
. Page 101
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 31 of 51

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Apr27-06.txt

don't, maybe I'm wrong, is it not correct that the positions
being allowed, accorded, whatever the proper word is, to the
Department of Mental -- I'm sorry -- to Corrections includes
psychiatric staff and nurses, et cetera?

WITNESS MANGUM: I do not believe these numbers
reflect that.

THE COURT: I see. So this is -- What you are
telling me is that these -- that I am incorrect, that these

positions are solely custodial positions?

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95

WITNESS MANGUM: Correct.

THE COURT: My Special Master is nodding his head no.
Perhaps he can tell us why.

SPECIAL MASTER KEATING: The comparison is not
between those two sets of positions. The comparison is
between the DMH allocations on the clinical and whatever, the
janitorial and other inclusions, versus the clinical staffing
for the 714 beds listed in the second listing that are going
to be incorporated in the EOP programs that are part of the
development. And that's the contrast that I think we're
interested in hearing about.

WITNESS MANGUM: Okay. I believe I can answer that
somewhat.

Page 102
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 32 of 51

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The numbers reflected in this report for EOP clinical

and custodial are based on EoP staffing ratios, as I
understand them, that the Department of Corrections has,
which is a different level of care. So it would be a
different staffing ratio than DMH. Tf don't know the details
of those differences.

THE COURT: So what you are telling me is that either
the Department of Mental Health is appropriately staffed and
the staffing levels are appropriate and Corrections has
severely underestimated its needs or vice versa.

WITNESS MANGUM: No. That's not what I'm intending

to tell you. EOP -- In general, my understanding is the EOP

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96
is a different level of care so clinicians would see those
inmates less frequently perhaps than acute or crisis or
intermediate.

THE COURT: Go ahead.

WITNESS MANGUM: The other point of clarification I
would like to make is that I believe that these numbers are
incremental increases. ' We do an automatic population
adjustment every year based on the projection of EOP
population as a percent of total of the Department's
population. And we adjust the level of staffing on the

ratios. So this is just incremental for specific additional
Page 103
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 33 of 51

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facility staff. So this is not the total staff that would be
serving those inmates.

THE COURT: So the other explanation is that because
DMH iS coming into what's essentially a new facility for
them, this is their full staffing versus the 64
point-whatever-it-is personnel is simply the incremental
adjustment reflecting new population, and that that's got to
be added to whatever you've allowed in the past?

WITNESS MANGUM: That's partially correct. Some

‘Clarification. I think the number of EOP -- the staff

associated with this incremental adjustment of EOP staffing
is 43.8. And additionally, it's not simply about new
facility, per se. It's about the increment of staff needed

when they have more treatment space because that's what's

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97

being proposed.

THE COURT: Let me read what you just said because it
didn't penetrate.

(Brief pause.)

I'm sorry. I don't understand what that means. will
you help me.

I understand -- I understand you to be telling me
that the EOP patients will receive less frequent treatment

Page 104
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 34 of 51

Apr27-06.txt

9 than the acute patients, and that will permit some lesser
10 staffing -- requires some reduced staffing.
11 But the other question is -- I mean, unless you are

12 telling me that this 43.6-whatever-it-is is simply a very
13 small percentage of those actually staffing, and that's
14 because of the incremental increase in population, I still

15 don't understand how it could be that different.

16 Do you understand my question?

17 WITNESS MANGUM: TI do.

18 - Let me start with the second part, and perhaps

19 Mr. Rodriguez can help with the level of care issue because
20 he's more familiar.

21 THE COURT: Okay.

22, WITNESS MANGUM: It is a small percentage of the

23 total staffing, as I understand it. And it is not that --
24 the staff associated with the number of the population is

25 provided through our population process. This is not

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. 98
necessarily the base staffing that would go with the EOP
. total population. This is additional staff because we are
opening -- the proposal is to open additional program space,
and these are the staff associated with that. So some of

them are custodial and some of them are clinical.

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I don't know the total --.the total base number
Page 105
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 35 of 51

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today. Sorry.

THE COURT: Mr. Rodriguez.

WITNESS RODRIGUEZ: I was going to add, and I'm not
an expert, or I will tell you I don't know much about
staffing for EOPs, but by definition an outpatient program
generally is staffed on less than 24-hours a day. You know
that. .

THE COURT: I understand that. .

WITNESS RODRIGUEZ: I think a large factor here is
the fact that acute is staffed at a higher for 24-hours a

day, ICF is staffed 24-hours a day but lower than acute, but

‘certainly higher than outpatient. And there may be other

factors going on like that.

THE COURT: I hear what you're saying. And that
may -- that may explain. But when you look at 43 and 700 and
something you've got to be -- you've got to be a little
flustered. Maybe I just don't understand it.

I think what I want you to do, folks -- and I don't

want to take any folks away from you. I just want to

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99
understand where we are. You know, why this is such a
problem.
what I think I want you to do is to file with the

Page 106
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 36 of 51

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court in a week, if that's convenient, an analysis of the

totality of the EOP picture versus the totality of the
proposed DMH program so that I can look at it and understand
what it is that's -- what it is that is really going on.

Actually, don't file it with me. File it with the
Special Master.

Is that all right with you, Michael?

File it with the Special Master.

Thank you, folks, for your help.

THE COURT: I think that takes us through the Bed
Plan.

MS. TILLMAN: Did you want any additional information
on question 7, page 4, Acceleration of CMF Construction?

THE COURT: I'm sorry. On page 4?

MS. TILLMAN: Page 4, question 7:

what is the current projection for completion of the:
50 bed facility at CMF and why can't it be expedited?

THE COURT: Yeah. I would like to be told that. I
don't -- if you can just tell me what's going on, fine. If
you need to put somebody on, do that.

MS. TILLMAN: I think Mr. Sifuentes is best

qualified, Your Honor,

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100

THE COURT: All right.
_ Page 107
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 37 of 51

Apr27-06.txt

2 MS. TILLMAN: Thank you.

3 (George Sifuentes, having been previously sworn

4 resumes the witness stand.)

5 DIRECT EXAMINATION

6 BY MS. TILLMAN:

7 Q. Good afternoon, Mr. Sifuentes.

8 you heard the question. Do you have a response to
9 the Court's concern?

10 A. Yeah. I don't want to get too long-winded, but

11 about -- when the order came out, one of the questions that
12 was raised is can you accelerate construction of the 50 bed
13 crisis beds at CMF.

14 Now, just from a historical perspective, that project
15 was appropriated a few years ago. And when you ask for a
16 project, a brand-new project, you go to the Legislature and
17 say, "Hey, I need this amount of money, it's going to take
18 this long to build." And when you prepare your budget, you
19 prepare it based upon certain project delivery methods.
20 And that is the scope of the project, that is the
21 schedule of the project. And based upon that information,
22 people make decisions as to whether to appropriate the money
23 and authorize the project or not. In this case, we were
24 successful in getting the appropriation.
25 At the time the question was raised, "Can you

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Page 108
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 38 of 51

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Apr27-06.txt

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accelerate the schedule," we already had a bid package out on
the street. we had met with contractors, and the bid date
was March 9th. So when it got raised to me, I was probably
60 days from bid date.

The only thing I could do was to issue what is known
as a bid addendum, which I did. But before that what I did
is I got the design team, and I got folks, some of my
construction people, and I said, okay, what can I do, given
I've got 60 days, and I want to be responsive to the Court.

What I felt I could do, and which I did, is I issued
a bid addendum asking all contractors who were interested in
the project to give me the price by reducing the schedule by
60 days. Because in the document I sent out it had so many
days.

Now, the reason I can only do that is because current
State law says that if I go over 20 percent of an
appropriation for a project, I have to stop. And I felt that
any action that would take this project beyond 20 percent was
not an action that I thought would meet our objective that we
were trying to do.

So that's what. I did. we sent it out. Wwe got the
prices. And right now we have to augment the project by over
ten percent. It's being done. I expect to have this
project, which was originally scheduled for February of '08,

to be ready in December of '07. That's what I asked for.

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Page 109
Case 2:90-cv-00520-KJM-SCR Document1861-1 Filed 06/29/06 Page 39 of 51

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102

THE COURT: Thank you.

My questions -- Does this testimony require any
further examination?

CROSS-EXAMINATION

BY MR. BIEN:
Q. Did anyone ask you to accelerate the project prior to
receiving this Court's order?
A. Yeah. What we had done -- one thing that happened to

this project, you may recall, Michael, is we found we had a
budget deficit in this project of over seven-and-a-half
million dollars. And we went back through Finance to the
Legislature to get additional money so we could continue.
And we got that and continued on with the design and tried to
get it out as quickly as possible.
Q. So in other words, prior to when you originally
started the project and you went over budget before you even
started building, then you had to go back and it got delayed?
A. Right.
Q. Okay. My question is before the Court order, did
anyone ask you to accelerate this project?

In the last six months has anyone said, "Before you
go out to bid --"
A. No. Not in the last six months, no.
Q. And if you got authority to, let's say, increase the

budget by 30 percent, could it be accelerated even quicker?

Page 110
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 40 of 51

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Apr27-06.txt

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103
A. At this point in time?

THE COURT: Yeah.

THE WITNESS: From today forward?

THE COURT: Yeah.

THE WITNESS: It's a possibility.

MR. BIEN: Thanks.

THE COURT: Thank you, sir.

I think that I need counsel to advise me about what -
I've heard today and what I ought to be doing about what I've
heard today. And I want to ask counsel -- I don't have to
tell you I'm in a hurry, but I want to do it right.

And I want to invite counsel, if you'll come to the
podium, both of you, to advise me about whether getting it
right can be done from argument.

When I say "getting it right," I'm going to take
everything except what I've ordered today under submission.
I don't think I need -- well, I need you to advise me as to
whether you think briefing would be helpful or whether oral
argument on the basis of what we heard will be sufficient.

Mr. Bien, what is your view, understanding the
Court's concern about getting orders out on an accelerated
basis?

MR. BIEN: I think a lot of things have come before
the Court in two days, and I think it would be useful to go

over some of them. I also think that we should get some
Page 111-
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 41 of 51

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104
clarification here today as to exactly what has been
committed to and what's going to happen in the future.

So I think that it would be useful, and there may be
some need -- for example, you asked me yesterday to remind
you about whether DMH needs to be added as a defendant.

THE COURT: I've already decided, I think.

MR. BIEN: And I think defendants have some news on
that that they wanted to share with you.

THE COURT: All right. .

MR. BIEN: But I think there are some things that
would be useful perhaps after we -- and some things just to
go over at least for a few minutes with argument from each
side. And then, you know, I think we already have done a bit
of briefing. I guess we feel a lot of urgency in terms of
missing the boat that's leaving.

THE COURT: So does the court. I'm very anxious |
about the May thing. Although, Finance has indicated to me
that it is possible to go back to the Legislature -- I am
correct that -- Yeah. So it is possible.

I assume it gets more difficult the longer we take,
but that -- you know -- you know, we are where we are. And
if it is possible -- you know, on the one hand we have this

Page 112
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 42 of 51

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Apr27-06.txt . .
great urgency, and on the other hand, you know, it's foolish

to issue orders that either can't be complied with or don't

make any sense in light of our needs.

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105

I mean, it is easy for me to say you will not close
the LOU because it is just difficult to understand why
anybody would do that, other than they were obeying a state
court action or order and I understand that. But somebody
should have gone to the State and said you got no place to
put these people. You understand what I'm saying.

MR. BIEN: It may even be that order needs some
clarification because as far as I know the LOU closed almost
a year ago.

THE COURT: It will reopen. It will - If it is
closed now -- I thought it was proposed to be closed?

MR. BIEN: They're proposing to reopen it.

THE COURT: It will be reopened. They will promptly
do whatever it is necessary to get it reopened and get people
into those beds, including staffing and whatever else has to
be done.

I don't know how to say that any clearer.

But you're right, maybe we need a little bit of both.

MS. TILLMAN: If I might speak, Your Honor?

THE COURT: I would like very much to hear from you.
Page 113
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 43 of 51

Apr27-06.txt
21 And I must say I really appreciate your help. It's very nice

22 when both lawyers are really good and really helpful.

23 Tell me what you think about oral argument, briefing,
24 or what we need to do?

25 MS. TILLMAN: At this point, Your Honor, I think the

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106
defendants would very much appreciate the Court issuing an
order indicating that it has reviewed, approved and adopted
as an order of the court the long range plan that was
indicated in the Bed Plan.

THE COURT: That I can do. And I'm satisfied, I
think -- although I'll hear from plaintiffs -- I think the
long range plan is appropriate, feasible and I will approve

it. And do you have objection to my doing that?

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MR. BIEN: Our suggestion was that it be approved,

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but with the proviso it needs be revised because of the

11 population.

12 THE COURT: Obviously. we all agree to that. I

13 don't think there is any doubt about that. But beyond that,

14 you're satisfied? I intend to do that.

15 MS. TILLMAN: Thank you.
16 THE COURT: All right.
17 Now, let's talk about the immediate problem. what do

Page 114
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 44 of 51

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Apr27-06.txt
I do, and in regard to that what is the pleasure of the

defendants concerning oral argument, briefing or both?

MS. TILLMAN: At this point, I don't see the need for
oral argument unless we do provide some briefing. I think
the defendants would very much again appreciate an order
indicating that we have 60 days to come up with better
strategies to deal with the short-term gap.

THE COURT: You see, I agree I have to give you some

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107
time. I agree with that. And 45 days I suppose I have to
live with because people can only do what they can do.

The problem is I keep finding things, just in the
course of this hearing, which you can do now that you don't
need an order from the court, you don't need a long range
plan.

I mean, I find it -- and I'm not criticizing. I know
Iam. But I don't mean it personally. But it's just
inconceivable to me that the LOU got closed a year ago and
nobody went to the state court and said, "You know, this is
impossible, we don't have any place to put these sick
people."

MS. TILLMAN: If I might say, Your Honor, I
personally need to take a second look at that LOU issue. My

understanding -~ you know, obviously I am not qualified to
Page 115
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 45 of 51

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Apr27-06.txt

state all the facts, but I thought it had been closed
before -- well before a year ago based upon concerns voiced
by the plaintiff class in Budd. .

So I'm very happy to take a second look at the Lou.
I think that was one of the strategies indicated in the Bed
Plan to take a look at the LOU and see if we could open it up
for care purposes. -But we will pursue that immediately.

THE COURT: You will, I will tell you.

.MS. TILLMAN: We're also happy to provide a list of

code issues so the Court's familiar with what barriers

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108
exist.

THE COURT: I need to know that.

MS. TILLMAN: And then, again, perhaps a written
order that we can take to the Budd court indicating this
court's concerns about licensing as a barrier to full use of
facilities would be helpful.

THE COURT: We can do that as well.

Let me talk to -- I'm going to take a ten minute
recess. I want to talk to my law clerks and Special
Master.

MS. TILLMAN: Thank you.

Coff the record at 02:34 PM)

Page 116
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 46 of 51

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Apr27-06.txt
(On the record at 02:50 PM)

THE CLERK: Please, remain seated.

Court is now in session.

THE COURT: Folks, Jet me first of all say that the
simplest thing is in order to accommodate Judge Henderson's
schedule, the Plata hearing you heard about will commence at
1:30 instead of 10:00 or whatever we told you. There will be
an order out telling you that.

I'd like counsel to approach the podium, and I want

to tell you what my tentative thoughts are and urge you to

‘talk to me now because I don't think I'm going to wait unless

I really hear a good reason to have written briefs.

First of all, of course the Court intends to approve

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109
the long-term plan subject to the modification -- the
population modification. I want to see the population
modification within 60 days filed with this court.

Second, the Court will allow the 45 days for the
Department to try and work through the MHCB crisis. It will
be filed here. The plaintiffs will be given ten days to
respond, and the Court will either set a hearing or rule
depending on what I got in front of me.

And those two things, I think, are very simple.

Nobody should care. I mean, it is giving you a short period,
Page 117
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 47 of 51

Apr27-06.txt
11 but this is a crisis fellows.
12 My present intention is to order that the 36 beds at
13 CMF being maintained presently, that the heat plan be

14 operated, that the defendants be ordered to do whatever they

15 can -- and I recognize there are limitations -- but whatever
16 they can to maintain the mechanics, to maintain temperature.
17 But that they -- you know, we've gone several years with

18 people there under the heat plan, and thank God we haven't

19 lost anybody. I'm not saying that's good. I'm just saying
20 this is a crisis. We have no place realistically to put

21 people, and that's what we're going to do.

22 The Court intends to order that the defendants make
23 the 36 beds at SV, Salinas Valley, as soon as possible. That
24 the next 36 beds be processed in the same manner as the first

25 36 with the appropriate waivers made by -- I have a great

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110
deal of confidence in him. He seems like a terribly sensible
human being -- understanding that these are temporary
measures. And as -- I'm sorry Dr. Peter, I can't pronounce
your last name.

WITNESS SZEKRENYI: Dr. Peter is fine.

THE COURT: AS Dr. Peter says, these are temporary

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solutions, they have to be brought up to code in due course.

Page 118
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 48 of 51

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we're doing this as an emergency measure. And an emergency

measure means emergency, not forever.

The Court is also going to order that the -- you do
what must be done to examine -- and I want the Corrections
Department rather than the Department of Mental Health, and
there's a reason for that -- I want the Corrections
Department to examine the waiting list at Salinas Valley.
And anybody who is a I, II, III or low IV will be transferred
to the -- I don't care whether it is ASH or Coalinga, that
doesn't matter to me -- in accordance with the MOU.

And to the extent that the MoU does not permit -
that -- I'm not talking about the high risk folks. I'm
talking about anybody who would qualify under the mou is to
be identified. I assume it is handful, but somebody has to
look at it in a careful, sensible way. And if there are
cases which can't be resolved, if there's some dispute
between the Department and Corrections, they'll be resolved

by going to the Special Master who will resolve their status.

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111
And again, I want to make clear that these are
tentative. And I'm going to ask you folks to go talk to your
clients and your principals and make sure that these don't
cause so much problem -- I don't think they do, but, you

know, you never can tell.
Page 119
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 49 of 51

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_ Too bad I can't read my handwriting.

The 30 bed, Level IV, six months. Boy, I sure knew
what I meant when I wrote it. Anybody know what I'm talking
about?

SPECIAL MASTER KEATING: A reference to the Coalinga
study.

THE COURT: Oh, yes. Thank you, sir.

That the Court intends -- Thank you. The Court
intends to direct that a study be done -- a cooperative study
between -- with DMH and Department of Corrections about the
conversion of 30 beds for Level IVs at either ASH or
Coalinga. I don't care where.

If it is not feasible, it isn't feasible. But I want
to know within six months what the costs are and what the
feasibility is and what the impediments are.

MS. TILLMAN: If I might ask, Your Honor,
high-custody, Level Ivs?

THE COURT: Yes, ma'am. Those are the real people we
have no beds for.

MS. TILLMAN: Uh-huh.

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112
THE COURT: Mental Health -- MHCB. I'm actually
getting to do that. I wish I wouldn't. By the lst of July,

Page 120
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 50 of 51

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Apr27-06.txt
you'll activate the CTC at Kern Valley and at Cvc and at

Sacramento. or, if you cannot do it by the 1st of July, you
will come back to the Court and tell me why.

And I want to say that I've given the Department 45
days because I think that's realistic, but if there are
things that you can identify which you can do, you ought not
wait, you ought to do them.

I'1] take, if you want to talk to your clients -- It
doesn't seem to me that any of this represents an undue
burden. But, you know, I don't know.

Do you want .to talk to your clients or are you
satisfied?

MS. TILLMAN: Your Honor, I would like a moment. I
will suggest, if the Court is open to the concept, of
indicating in the Court Order regarding the long-term plan
that we be -- the defendants be ordered to look. at
accelerating the construction of those particular projects _
and report back to the Court, say, within 60 days with
readiness to identify any particular statutory, licensing or
staffing barriers.

THE COURT: That will be the order.

MS. TILLMAN: Likewise, the same request for the

short-term plans that are due in 45 days. If there are any

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113
Page 121
Case 2:90-cv-00520-KJM-SCR Document 1861-1 Filed 06/29/06 Page 51 of 51

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Apr27-06.txt
particular barriers, statutory, licensing, or otherwise,
we're to identify them for the court.

THE COURT: And the Court will do whatever it can to
make those go away.

MS. TILLMAN: Thank you.

MR. BIEN: Can I just clarify one thing, Your Honor?

THE COURT: Yes.

MR. BIEN: In the short-term, the 45 day plan, I
think Dr. Peter said he was also going to address the
short-term ICF needs in that period. Not just --

THE COURT: He 7s nodding his head yes, that's his
intention.

MR. BIEN: Okay.

MS. TILLMAN: Lastly, if it's the desire of the
court, if the Court could order that the Department of Mental
Health submit to the Court and to plaintiffs’ counsel under
seal the Draft Settlement under GRIPA -- or CRIPA, C-R-I-P-A.
I understand that the Department of Mental Health has
received authority to do so.

THE COURT: That will be the order as well.

When you said that, that reminded me of something
else that has now just escaped me.

Give me a moment.

(Brief pause.)

Gone. Will you consult with your clients, please.

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Page 122
